                Case 2:23-mj-30387-DUTY ECF No. 4, PageID.5 Filed 09/26/23 Page 1 of 1
(EDMI 1/) Order 5HJDUGLQJ%UDG\0DWHULDOV



                               UNITED STATES DISTRICT COURT
                                                        for the
                                              Eastern District of Michigan

                  United States of America                 )
                             v.                            )      Case No. 23-30387
                                                           )
                    SAJED AL-MAAREJ
                                                           )
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                                     ORDER 5(*$5',1*%5$'<0$7(5,$/6

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Date: September 26, 2023                                   s/Kimberly G. Altman
                                                          Judicial Officer’s Signature


                                                           Kimberly G. Altman, U.S. Magistrate Judge
                                                          Printed name and title
